      Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.1 Page 1 of 18




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                                UNITED STATES DISTRICT COURT
15
16                        SOUTHERN DISTRICT OF CALIFORNIA
17
     HEATHER TAFT, KIRSTEN               )   Case No.   '22CV0697 WQHMDD
18   GONZALEZ, CHEYENNE HENRY,           )
19   YURIDIA CERON, and VANESSA          )   CLASS ACTION
     ZAPATA,                             )
20
                                         )   COMPLAINT FOR DAMAGES AND
21                      Plaintiffs,      )   PROFIT DISGORGEMENT
22               v.                      )
                                         )   DEMAND FOR JURY TRIAL
23   DAVID SALINAS, and individual;      )
24   VERONICA SALINAS, an individual; )
     RED ROCK ENTERPRISES OF             )
25
     UTAH, INC., a Utah corporation; PET )
26   CONNECT RESCUE, INC., a             )
27   Missouri corporation; RAY           )
     ROTHMAN, an individual; ALYSIA )
28   ROTHMAN, an individual;             )

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                                    CLASS ACTION COMPLAINT
         Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.2 Page 2 of 18




1    JEANNE’S GEMS, INC., an Iowa                )
2    corporation; DAVID                          )
     STEFFENSMEIER, an individual;               )
3    SELECT PUPPIES, INC., an Iowa               )
4    corporation; BRIAN MOHRFELD, an             )
     individual; RAK TRANSPORT, LLC,             )
5    a Missouri limited liability company;       )
6    TIFFANIES, LLC, a Missouri limited          )
     liability company; TIFFANIE KURZ,           )
7
     an individual; TBHF, LLC, an Iowa           )
8    limited liability company; RICHARD          )
9    KIRK, an individual; RUSSELL                )
     KIRK, an individual; and DOES 1-25,         )
10                                               )
11                       Defendants.             )
                                                 )
12
13
14                                        INTRODUCTION
15           1.    Defendants for many years supplied puppies from puppy mills into the State
16   of California to be sold in retail pet stores.
17           2.    Starting on January 1, 2019, California Health & Safety Code § 122354.5
18   (the “Puppy Mill Ban”) banned the commercial sale of non-rescue dogs, cats, and rabbits
19   in retail pet stores.1 The law defined “rescue” group as an entity organized as a 501(c)(3)
20   nonprofit that was in a “cooperative agreement” with at least one public or private
21   shelter, and that did not obtain animals from brokers or breeders for compensation.
22           3.    The legislative history describes the Puppy Mill Ban’s purpose as follows:
23                 California taxpayers spend a quarter of a billion dollars annually to house
24                 and kill animals in local shelters while puppy mills throughout the country
                   continue to mass breed animals for profit. [This bill] attempts to curtail
25                 these operations by supporting access to pet rescue and adoption in
26
27   1
      The law has since been amended to ban all retail sale of these animals in pet stores,
28   while allowing stores to provide space for rescue groups to hold adoption events. (Cal.
     Health & Safety Code § 122354.5, effective January 1, 2021.)
                                                  2

                                     CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.3 Page 3 of 18




1                  California retail pet stores. By offering puppies, kittens and rabbits for
2                  adoption from nearby shelters, pet stores can save the lives of animals in
                   search for a home, save the breeding animals trapped in puppy mills, and
3                  relieve pressure on county budgets and local tax payers.
4
                (https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=2017
5               20180AB485#, last visited May 13, 2022.)
6
      4.        The legislative history defines “puppy mills” as follows:
7
                   Puppy Mills. “Puppy Mills” or “Kitty Factories” are common terms for
8
                   large commercial breeding facilities that mass produce animals for sale at
9                  retail markets. It is estimated that there are 10,000 puppy mills in the United
10                 States. These are separate from other types of breeders who produce a
                   smaller quantity of animals and typically in California do not sell directly to
11                 retail pet outlets; however, there are no restrictions on pet stores as to where
12                 they can acquire animals for retail sale. Mass produced, commercial animal
                   breeders are typically scrutinized for their treatment of the animals
13
                   including producing sick animals, inhumane treatment, and providing
14                 abhorrent living conditions. This bill aims to limit the sales of animals in
15                 California that are from “puppy mills,” “kitten factories” or other
                   commercial breeding facilities and to help ensure that available shelter
16                 animals are a source of animal sales.
17
18                 (Ibid.)
19         5.      The legislative history notes the following regarding federal law:
20                 Federal Law. The federal Animal Welfare Act was passed by Congress in
21                 1966 and establishes minimum standards for the care and treatment of
                   animals bred for commercial sale, exhibited to the public, used in
22
                   biomedical research or commercial transport. The United States Department
23                 of Agriculture (USDA) is responsible for overseeing the commercial dog
24                 breeding industry. Breeders who sell to a pet store or consumers over the
                   Internet are required to hold a license. However, as noted by various animal
25                 welfare organizations, federal laws provide a minimal level of specificity
26                 for animal care and violations are often found in many commercial breeding
                   organizations, while others operate underground making enforcement of the
27
                   laws difficult and challenging. According to the USDA, there are
28                 approximately 120 field-based employees who inspect licensed commercial
                   breeding facilities in all 50 states. If a violation is found, then a facility is
                                                     3

                                    CLASS ACTION COMPLAINT
      Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.4 Page 4 of 18




1                   given a notice to correct, and in those serious cases of neglect, legal action
2                   may occur. According to the USDA, the system used to inspect a dog or cat
                    breeding facility is based on a risk-based system. The frequency of an
3                   inspection is dependent upon a facility's compliance record, while all
4                   licensed facilities are inspected; those facilities with more compliance
                    issues are inspected more frequently. In addition, the USDA reports that its
5                   inspectors may visit a facility when the USDA receives a complaint.
6
7                (Ibid.)
8          6.       Rather than comply with the law, some puppy stores in California continued
9    their exact same business model, replacing breeder information for the puppies with
10   “rescue.”
11         7.       All Defendants, acting in concert and as accomplices to each other,
12   intentionally supplied these stores with puppies fraudulently mislabeled as “rescues” to
13   deceive consumers such as Plaintiffs and illicitly profited from these sales.
14                                 JURISDICTION AND VENUE
15         8.       This Court has subject matter jurisdiction over this action pursuant to 28
16   U.S.C. § 1332(a) because the action is between citizens of different states and the matter
17   in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.
18         9.       Alternatively, this Court has subject matter jurisdiction over this action
19   pursuant to 28 U.S.C. § 1332(d) because this is a class action in which (1) there are over
20   100 members in the proposed class; (2) members of the proposed class have a different
21   citizenship from Defendants; and (3) the claims of the proposed class members exceed
22   $5,000,000 in the aggregate, exclusive of interests and costs.
23         10.      In addition, this Court has subject matter jurisdiction over this action
24   pursuant to 28 U.S.C. § 1331 because Defendants’ violations of the federal civil RICO
25   statute arise under federal law, and the Court has supplemental jurisdiction pursuant to
26   28 U.S.C. § 1367.
27         11.      This Court has personal jurisdiction over Defendants because all
28   Defendants have sufficient contacts with California. Plaintiffs’ claims and causes of

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                                     CLASS ACTION COMPLAINT
      Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.5 Page 5 of 18




1    action alleged herein arise out of Defendants’ respective contacts with this State.
2    Moreover, all Defendants have purposely availed themselves of the privileges and
3    benefits of conducting business activities in California through their marketing,
4    advertising, and sale of puppies in this state.
5           12.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because at
6    all relevant times, Defendants engaged in continuous and systematic business activities
7    within the State of California, a substantial portion of the underlying transactions and
8    events complained of occurred and affected persons and entities in this district, and
9    Defendants received substantial compensation from transactions and business activities
10   in this district.
11                                            PARTIES
12          13.     Plaintiff HEATHER TAFT is an individual residing in Clark County,
13   Nevada, who purchased a puppy from Broadway Puppies in San Diego County,
14   California on May 15, 2019. The puppy was labeled as being from Defendant PET
15   CONNECT RESCUE, INC. which is a front for SELECT PUPPIES, INC., which
16   obtained the puppy from JEANNE’S GEMS, INC.
17          14.     Plaintiff KIRSTEN GONZALEZ is an individual residing in Riverside
18   County, California, who purchased a puppy from Pups & Pets in San Diego County,
19   California on February 23, 2020. The puppy was labeled as being from Defendant PET
20   CONNECT RESCUE, INC. but was actually purchased from a breeder by SELECT
21   PUPPIES, INC. and transferred through TIFFANIES, LLC.
22          15.     Plaintiff CHEYENNE HENRY is an individual residing in Virginia who
23   purchased a puppy from National City Puppy in San Diego County on August 25, 2019.
24   The puppy was labeled as being from Defendant PET CONNECT RESCUE, INC. but
25   was actually purchased from a breeder by SELECT PUPPIES, INC. and transferred
26   through CHOICE PUPPIES, INC.
27          16.     Plaintiff YURIDIA CERON is an individual residing in San Diego County
28   who purchased a puppy from Broadway Puppies in San Diego County on February 7,

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                                     CLASS ACTION COMPLAINT
      Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.6 Page 6 of 18




1    2020. The puppy was labeled as being from Defendant PET CONNECT RESCUE, INC.
2    but was actually purchased from a breeder by SELECT PUPPIES, INC. and transferred
3    through TIFFANIES, LLC.
4          17.      Plaintiff VANESSA ZAPATA is an individual residing in Riverside County
5    who purchased a puppy from the Fancy Puppy in Riverside County on December 3,
6    2019. The puppy was labeled as being from Defendant PET CONNECT RESCUE, INC.
7    but was actually purchased from a breeder by SELECT PUPPIES, INC. and transferred
8    through TIFFANIES, LLC.
9          18.      Defendant DAVID SALINAS is an individual residing in Utah.
10         19.      Defendant VERONICA SALINAS is an individual residing in Utah.
11         20.      Defendant RED ROCK ENTERPRISES OF UTAH, INC. is a Utah
12   corporation.
13         21.      Defendant PET CONNECT RESCUE, INC. is a Missouri corporation.
14         22.      Defendant RAY ROTHMAN is an individual residing in Missouri.
15         23.      Defendant ALYSIA ROTHMAN is an individual residing in Missouri.
16         24.      Defendant JEANNE’S GEMS, INC. is an Iowa corporation.
17         25.      Defendant DAVID STEFFENSMEIER is an individual residing in Illinois.
18         26.      Defendant SELECT PUPPIES, INC. is an Iowa corporation.
19         27.      Defendant BRIAN MOHRFELD is an individual residing in Iowa.
20         28.      Defendant RAK TRANSPORT, LLC is a Missouri limited liability
21   company.
22         29.      Defendant TIFFANIES, LLC is a Missouri limited liability company.
23         30.      Defendant TIFFANIE KURZ is an individual residing in Missouri.
24         31.      Defendant TBHF, LLC is an Iowa limited liability company.
25         32.      Defendant RICHARD KIRK is an individual residing in Missouri.
26         33.      Defendant RUSSELL KIRK is an individual residing in Missouri.
27
28

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                                   CLASS ACTION COMPLAINT
      Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.7 Page 7 of 18




1                                      CLASS ALLEGATIONS
2          34.      The Class includes all persons who purchased a puppy during at least the
3    last four years from the date of the filing of this Complaint until June 18, 2020 at
4    Broadway Puppies in Escondido, California; National City Puppy in National City,
5    California; Pups & Pets in Santee, California; Hello Puppies in Temecula, California; or
6    Fancy Puppy in Corona, California that was labeled a “rescue,” and was sourced through
7    JEANNE’S GEMS, INC., SELECT PUPPIES, INC., CHOICE PUPPIES, INC., and/or
8    TIFFANIES, LLC, and was not supplied by non-party J.A.K.’s Puppies, Inc.
9          35.      Excluded from the Class are: (i) Defendants and their officers, directors,
10   owners, and employees; (ii) any person who files a valid and timely request for
11   exclusion; and (iii) judicial officers and their immediate family members and associated
12   court staff assigned to the case.
13         36.      Plaintiffs reserve the right to amend or otherwise alter the class definitions
14   presented to the Court at the appropriate time, or to propose or eliminate subclasses, in
15   response to facts learned through discovery, legal arguments advanced by Defendants, or
16   otherwise.
17         37.      This action is properly maintainable as a class action pursuant to Federal
18   Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3) for the reasons set forth below.
19         38.      Numerosity—Federal Rule of Civil Procedure 23(a)(1). Prospective class
20   members, however defined, are readily ascertainable by way of Defendants’ records and
21   are so numerous that joinder of all members is impracticable. The class consists of
22   approximately 6,000 members.
23         39.      Commonality—Federal Rule of Civil Procedure 23(a)(2). There are
24   numerous and substantial questions of law or fact common to all members of the class
25   that predominate over any individual issues. Included within the common questions of
26   law or fact are:
27               a. Whether Defendants mislabeled puppies as “rescues” to evade California
28                  law and deceive consumers;

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                                     CLASS ACTION COMPLAINT
      Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.8 Page 8 of 18




1                b. Whether Defendants engaged in unlawful, unfair, or deceptive practices by
2                   advertising and selling puppies as “rescues”;
3                c. Whether Defendants violated the applicable consumer protection state
4                   statutes;
5                d. Whether Defendants violated Cal. Health & Safety Code § 122354.5;
6                e. Whether Defendants have been unjustly enriched;
7                f. Whether Plaintiffs and the class members have sustained damage as a result
8                   of Defendants’ unlawful conduct; and
9                g. The proper measure of damages sustained by Plaintiffs and Class members.
10         40.      Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are
11   typical of the claims of the members of the class they seek to represent. Plaintiffs, like
12   the class members, purchased Defendants’ puppies after falling victim to Defendants’
13   uniformly deceptive advertising, marketing scheme.
14         41.      Adequacy—Federal Rule of Civil Procedure 23(a)(4). Plaintiffs are
15   adequate representatives of the class they seek to represent because their interests do not
16   materially or irreconcilably conflict with the interests of other members of the class. On
17   the contrary, Plaintiffs will fairly, adequately, and vigorously protect the interests of
18   class members and have retained counsel experienced and competent in the prosecution
19   of complex cases, including complex class action litigation.
20         42.      Predominance and Superiority—Federal Rule of Civil Procedure 23(b)(3).
21   As described above with respect to commonality, there are numerous and substantial
22   questions of law or fact common to class members that predominate over any questions
23   that affect only individual members. In addition, class treatment is superior to other
24   available group-wide methods for the fair and efficient adjudication of this action
25   because it will permit a large number of claims to be resolved in a single forum
26   simultaneously, efficiently, and without the unnecessary hardship that would result from
27   the prosecution of numerous individual actions and the duplication of discovery, effort,
28   expense, and burden on the courts that individual actions would entail.

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                                     CLASS ACTION COMPLAINT
      Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.9 Page 9 of 18




1          43.    The benefits of proceeding as a class action, including providing a method
2    for obtaining redress for claims that would not be practical to pursue individually, are
3    superior to any other method available for the fair and efficient group-wide adjudication
4    of these claims. Absent a class action, it would be highly unlikely that Plaintiffs or any
5    other putative class members would be able to protect their own interests because the
6    cost of litigation through individual lawsuits might exceed expected recovery.
7                                  ALLEGATIONS OF FACT
8          44.    Defendants TIFFANIE KURZ, RICHARD KIRK, and RUSSELL KIRK
9    run TBHF, LLC, which operates as a hub for tracking and altering ownership
10   information of puppies so they can be purchased from breeders and shipped to pet stores
11   while obscuring the true source of the puppies, i.e. “puppy laundering.”
12         45.    Defendant TIFFANIE KURZ also owns and operates TIFFANIES, LLC,
13   which is a broker of puppies and acted as a conduit or go-between in the present case.
14         46.    Defendant RAY ROTHMAN and ALYSIA ROTHMAN created the sham
15   PET CONNECT RESCUE, INC. to fraudulently act as the source of the puppies sold as
16   “rescues” in California stores.
17         47.    Defendant RAY ROTHMAN is and at all relevant times was the sole
18   manager of SELECT PUPPIES, INC.
19         48.    On a weekly basis, RAY ROTHMAN would email breed availability
20   notices to pet stores in California from SELECT PUPPIES, INC. The stores would then
21   indicate which puppies they wished to purchase for that week’s shipment. Defendants
22   would then obscure the source of the puppies from consumers by listing a series of sham
23   transactions between Defendants’ various shell companies and pass-through entities.
24   Defendants purchased all puppies from breeders.
25         49.    Defendants DAVID SALINAS and VERONICA SALINAS directly
26   conspired with ROTHMAN to set up sham “cooperative agreements” with shelters to
27   claim that Defendant PET CONNECT RESCUE, INC. was a valid “rescue group” from
28   which puppies could be sold in pet stores.

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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.10 Page 10 of 18




1          50.    Through a series of pass-through entities and shell corporations owned by
2    their wholly owned corporation RED ROCK ENTERPRISES OF UTAH, INC.,
3    Defendants DAVID SALINAS and VERONICA SALINAS then reaped the profits of
4    the illegal and fraudulent puppy sales at National City Puppy, Pups & Pets, Broadway
5    Puppies, Fancy Puppy, and Hello Puppies, all located in San Diego and Riverside
6    Counties.
7          51.    Defendants JEANNES GEMS, INC. and DAVID STEFFENSMEIER were
8    brokers that knowingly purchased puppies from breeders and sold them to PET
9    CONNECT RESCUE, with the funds being paid through other shell corporations.
10         52.    RAY ROTHMAN funneled money being paid for “Pet Connect Rescue”
11   puppies through his wholly owned shell corporation, RAK TRANSPORT, LLC, to
12   disguise those transactions and claim that Defendant PET CONNECT RESCUE was not
13   receiving compensation for the puppies. Neither RAK TRANSPORT, LLC nor PET
14   CONNECT RESCUE, INC. have ever had any physical location.
15         53.    Defendant BRIAN MOHRFELD is the sole owner of both SELECT
16   PUPPIES, INC. and CHOICE PUPPIES, INC. and specifically empowered and
17   conspired with ROTHMAN to use these entities to launder puppies from breeders to pet
18   stores, fraudulently labeled “rescues.”
19         54.    CHOICE PUPPIES, INC. is yet another pass-through entity that Defendants
20   claimed was “closed” during the relevant time period but were using as a shell to transfer
21   puppy ownership through to obscure the true source of the puppies.
22         55.    All puppies sold by Defendants to Plaintiffs came from puppy mills and
23   had severe health problems requiring expensive and ongoing veterinary care, or in some
24   cases euthanasia.
25         56.    All Defendants acted as accomplices to each other, with full knowledge and
26   ratification of each others’ fraudulent acts, and conspired to defraud consumers such as
27   Plaintiffs and putative class members, into purchasing puppies labeled “rescues” that
28   Defendants actually purchased from breeders to resell at a profit.

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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.11 Page 11 of 18




1                                    FIRST CAUSE OF ACTION
2                        Consumer Legal Remedies Act – Civil Code § 1750
3          57.      Plaintiffs reallege the paragraphs above as if fully set forth herein.
4          58.      The Consumer Legal Remedies Act (“CLRA”), Civil Code § 1750, et seq.,
5    prohibits “unfair or deceptive acts or practices undertaken by any person in a transaction
6    intended to result or which results in the sale or lease of goods or services to
7    any consumer” which includes, but are not limited to:
8                a. “Misrepresenting the source, sponsorship, approval, or certification of
9                   services”
10               b. “Representing that services have approval, characteristics, benefits that they
11                  do not have or that a person has an approval, status, that he or she does not
12                  have.”
13               c. “Representing that services are of a particular standard, quality, or grade, or
14                  that goods are of a particular style or model, if they are of another.”
15               d. “Advertising services with intent not to sell them as advertised.”
16               e. “Representing that a transaction confers or involves rights, remedies, that it
17                  does not have or involve”;
18               f. “Representing that the consumer will receive economic benefit, contingent on
19                  an event to occur subsequent to the consummation of the transaction”; and
20               g. “inserting an unconscionable provision in the contract.”
21         59.      As set forth herein, Defendants misrepresented to consumers in California
22   that they were selling “rescue puppies” when in fact they were selling puppies from
23   puppy mills.
24         60.      Defendants’ advertisements and representations are false and misleading in
25   a material respect and were directed at and misleading to reasonable consumers such as
26   Plaintiffs and class members.
27         61.      At all times during which Defendants made the above-referenced
28   representations to Plaintiffs, and to the public, Defendants knew that they were false and

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                                     CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.12 Page 12 of 18




1    misleading.
2          62.     Plaintiffs and class members reasonably relied upon and were deceived by
3    Defendants’ false and misleading advertising and paid money to Defendants, each
4    obtaining a puppy Defendants’ falsely claimed was a “rescue puppy.”
5                                 SECOND CAUSE OF ACTION
6                        Unfair Business Practices – BPC § 17200, et seq.
7          63.     Plaintiffs reallege and incorporate by reference the allegations in each of the
8    preceding paragraphs as if fully set forth herein.
9          64.     At all relevant times mentioned in this complaint, the Puppy Mill Ban
10   provided:
11                 A pet store operator shall not sell a live dog, cat, or rabbit in a pet store
                   unless the dog, cat, or rabbit was obtained from a public animal control
12
                   agency or shelter, society for the prevention of cruelty to animals shelter,
13                 humane society shelter, or rescue group that is in a cooperative agreement
14                 with at least one private or public shelter pursuant to Section 31108, 31752,
                   or 31753 of the Food and Agricultural Code.
15
16         (Health & Safety Code § 122354.5(a), effective January 1, 2019.)
17
           65.     The Puppy Mill Ban further provided:
18
                   For purposes of this section, a “rescue group” is an organization that is tax
19
                   exempt under Section 501(c)(3) of the Internal Revenue Code, and that does
20                 not obtain animals from breeders or brokers for compensation.
21
           (Health & Safety Code § 122354.5(a), effective January 1, 2019, emphasis added.)
22
           66.     Defendants unlawfully sold puppies in a pet store obtained from breeders or
23
     brokers for compensation in violation of California law, including the puppies
24
     Defendants sold to Plaintiffs and class members.
25
           67.     All Defendants were knowingly and willfully acting as accomplices to all
26
     other Defendants to evade the Puppy Mill Ban and defraud consumers into believing
27
     they were “adopting” a “rescue” animal, when in fact their purchases are supporting the
28
     puppy mill industry of which Defendants are a part.
                                                  12

                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.13 Page 13 of 18




1          68.    All of the Defendants, both independently and collectively, violated Health
2    and Safety Code § 122354.5 by knowingly participating in and profiting from
3    Defendants’ unlawful scheme to sell puppy mill puppies in a pet store and falsely
4    advertise to the public that the puppies are “rescues” from a shelter or other legitimate
5    rescue operation.
6          69.    Defendants, and each of them, engaged in acts or practices that constitute
7    unfair competition, as that term is defined in section 17200 et seq. of the California
8    Business & Professions Code.
9          70.    Defendants, and each of them, violated Business & Professions Code §§
10   17200 et seq. through their unlawful business acts and practices, which violated Health
11   and Safety Code § 122354.5 and Business & Professions Code §§ 17200 et seq.
12                                 THIRD CAUSE OF ACTION
13                             Fraudulent Deceit – Civil Code § 1710
14         71.    Plaintiffs reallege the paragraphs above as if fully set forth herein.
15         72.    Defendants made false representations and concealed material facts about
16   the puppies they are selling and engaged in deceptive practices before, during, and after
17   the sale of puppies to Plaintiffs.
18         73.    Defendants made said representations and concealed material information
19   with knowledge of their falsity or without sufficient knowledge on the subject to warrant
20   a representation, and with the intent to induce Plaintiffs to act on it.
21         74.    When Defendants made these representations, Defendants knew them to be
22   false, and made these representations with the intent to defraud and deceive Plaintiffs
23   and with intent to induce Plaintiffs to purchase a puppy.
24         75.    Plaintiffs believed the representations and relied on the truth of them in
25   purchasing a puppy. Plaintiffs would not have purchased the puppy had it not been for
26   the fraudulent deceit.
27         76.    The reliance by Plaintiffs was justified because Defendants were in a
28   position of advantage with respect to knowledge of facts concerning where the puppies

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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.14 Page 14 of 18




1    came from, Defendants falsely and fraudulently represented to Plaintiffs that they were
2    selling “rescue puppies,” and Defendants represented to Plaintiffs that the puppy
3    Plaintiffs purchased were “rescue puppies.”
4          77.     As a proximate result of Defendants’ fraudulent deceit and the facts herein
5    alleged, Plaintiffs each purchased a puppy which they believed was a “rescue puppy”,
6    but instead was a puppy from a puppy mill, and incurred thousands of dollars in
7    veterinary bills due to illnesses caused by the poor conditions in which the puppies were
8    bred, transported, and stored prior to sale.
9          78.     Defendants acted with malice and fraud, intentionally deceiving Plaintiffs
10   as they did all of their customers and class members, into believing they were purchasing
11   a “rescue” animal, solely so that Defendants could continue to profit from selling puppy
12   mill puppies in violation of the Puppy Mill Ban. Such despicable conduct entitles
13   Plaintiffs to punitive damages against Defendants.
14                                FOURTH CAUSE OF ACTION
15                                 Negligence – Civil Code § 1714
16         79.     Plaintiffs reallege the paragraphs above as if fully set forth herein.
17         80.     Defendants had a duty not to engage in an illegal puppy laundering scheme
18   to sell puppy mill puppies to unsuspecting consumers in California pet stores.
19         81.     Defendants also had a duty not to sell ill puppies from puppy mills to
20   Plaintiffs and class members, requiring Plaintiffs and class members to pay thousands of
21   dollars per puppy in veterinary care.
22         82.     Defendants breached each of their respective duties.
23         83.     As a result of Defendants’ breach, Plaintiffs and class members suffered
24   damages in an amount to be determined at trial.
25                                 FIFTH CAUSE OF ACTION
26               Racketeer Influenced and Corrupt Organizations Act (“RICO”)
27                                       18 U.S.C § 1961 et seq.
28         84.     Plaintiffs reallege the paragraphs above as if fully set forth herein.

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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.15 Page 15 of 18




1          85.    Each Defendant is a “person” capable of holding legal or beneficial interest
2    in property within the meaning of 18 U.S.C. § 1961(3).
3          86.    Each Defendant violated 18 U.S.C. § 1962(c) and (d) by the acts described
4    in this Complaint. Specifically, each Defendant’s activities affected interstate commerce,
5    each Defendant conducted or participated, directly or indirectly, in the enterprise’s
6    affairs through a pattern of racketeering activity, and each Defendant conspired to
7    participate, directly or indirectly, in the enterprise’s affairs through a pattern of
8    racketeering activity.
9          87.    Defendants, and each of them, formed an association-in-fact for the
10   common and continuing purpose described in this Complaint. Together, they constitute
11   an enterprise within the meaning of 18 U.S.C. § 1961(4) engaged in the conduct of their
12   affairs through a continuing pattern of racketeering activity. Defendants, as the members
13   of the enterprise, functioned as a continuing unit with ascertainable structure separate
14   and distinct from that of the conduct of the pattern of racketeering activity.
15         88.    Defendants, and each of them, knowingly, willfully, and unlawfully
16   conducted or participated, directly or indirectly, in the affairs of the enterprise through a
17   pattern of racketeering activity within the meaning on 18 U.S.C § 1691, et seq. The
18   racketeering activity was made possible by Defendants’ regular and repeated use of the
19   facilities and services of the enterprise. Defendants have the specific intent to engage in
20   the substantive RICO violations alleged herein.
21         89.    Defendants participated in the operation and management of the
22   association-in-fact enterprise alleged above by overseeing and coordinating the
23   commission of multiple acts of racketeering as described below.
24         90.    Defendants, each of whom are persons associated with, or employed by, the
25   enterprise(s), did knowingly, willfully, and unlawfully conduct or participate, directly or
26   indirectly, in the affairs of the enterprise through a pattern of racketeering activity within
27   the meaning of 18 U.S.C. § 1961(1), 1961(5), 1962(c), and 1962(d). The racketeering
28   activity was made possible by Defendants’ regular and repeated use of the facilities and

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                                     CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.16 Page 16 of 18




1    services of the enterprise. Defendants had the specific intent to engage in the substantive
2    RICO violations alleged herein.
3          91.    Predicate acts of racketeering activity are acts which are indictable under
4    the provisions of the U.S. Code listed in 18 U.S.C § 1961(1)(B) and which are more
5    specifically discussed herein. Each Defendant committed at least two such acts or else
6    aided and abetted such acts.
7          92.    These acts of racketeering were not isolated, but rather the acts of
8    Defendants were related in that they had the same or similar purpose and result,
9    participants, victims, and method of commission. Further, the acts of racketeering by
10   Defendants have been continuous. There was repeated conduct during a period
11   continuing to the present, and there is a continued threat of repetition of such conduct.
12         93.    The association-in-fact enterprise and the alternative enterprises, as alleged
13   herein, were not limited to the predicate acts and extended beyond their racketeering
14   activity. Rather, they existed separate and apart from the pattern of racketeering activity
15   for legitimate business purposes.
16         94.    Defendants committed acts constituting indictable offenses under 18 U.S.C.
17   §§ 1341 and 1343 in that they devised or intended to devise a scheme or artifice to
18   defraud Plaintiffs and putative class members of money by means of false or fraudulent
19   pretenses, representations or promises. For the purpose of executing their scheme or
20   artifice, Defendants caused delivery of various documents and things by the U.S. mails,
21   via the internet, via facsimile and/or by private or commercial interstate carriers or
22   received such therefrom. Defendants also transmitted or caused to be transmitted by
23   means of wire communications in interstate commerce various writings, signs and
24   signals.
25         95.    The acts of Defendants set forth above were done with knowledge that the
26   use of the mails or wires would follow in the ordinary course of business, or that such
27   use could have been foreseen, even if not actually intended. These acts were done
28   intentionally and knowingly with the specific intent to advance Defendants’ scheme or

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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.17 Page 17 of 18




1    artifice.
2           96.   Defendants carried out their scheme in different states and could not have
3    done so unless they used the U.S. mails or private or commercial interstate carriers or
4    interstate wires.
5           97.   In furtherance of their scheme alleged herein, Defendants communicated
6    among themselves and with Plaintiffs and putative class members in furtherance of the
7    scheme to defraud Plaintiffs and putative class members. These communications were
8    typically transmitted by wire (i.e., electronically) and/or through the United States mails
9    or private or commercial carriers.
10          98.   In addition, in furtherance of their scheme, Defendants used the wires
11   and/or U.S. mail or private or commercial carriers to induce Plaintiffs to purchase
12   puppies fraudulently labeled as “rescues” to evade California law. Defendants also
13   communicated by the wires and/or U.S. mail or private or commercial carriers to
14   facilitate the sales and subsequent purchases, including accepting payments over the
15   Internet or by mail, including through use of third party lending companies.
16          99.   Plaintiffs and putative class members reasonably and justifiably relied on
17   Defendants’ false misrepresentations and deceptive communications as alleged in this
18   Complaint.
19          100. Plaintiffs and putative class members have been damaged as a direct and
20   proximate result of Defendants’ participation in the enterprise.
21          101. Defendants’ violations of state and federal laws as set forth in this
22   Complaint, each of which directly and proximately injured Plaintiffs and putative class
23   members, constituted a continuous course of conduct spanning a period of time
24   encompassing at least 2018 through the present. Defendants’ conduct was intended to
25   obtain money through false representations, fraud, deceit, and other improper and other
26   unlawful means.
27          102. Plaintiffs and putative class members seek an award of actual damages.
28   Plaintiffs further seek an award three times the damages they sustained, and the recovery

                                                 17

                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00697-LL-DEB Document 1 Filed 05/16/22 PageID.18 Page 18 of 18




1    of reasonable attorneys’ fees and costs of investigation and litigation, as well as any
2    other relief authorized by statute.
3
4                                     PRAYER FOR RELIEF
5    Wherefore, Plaintiffs prays for judgment against Defendants as follows:
6          1.     For damages to be proven at trial;
7          2.     For restitution and disgorgement as allowed by law;
8          3.     For punitive and treble damages as allowed by law;
9          4.     For reasonable attorneys’ fees as provided by, inter alia, California Code of
10   Civil Procedure § 1021.5;
11         5.     For costs of suit incurred herein;
12         6.     For pre- and post-judgment interest;
13         7.     For such other and further relief as the Court deems just and proper.
14
15
     Dated: May 16, 2022                           By:
16                                                        Bryan W. Pease, Esq.
17                                                        Attorney for Plaintiff
18
19                                DEMAND FOR JURY TRIAL
20         Plaintiffs hereby demand a jury trial on all causes of action for which a jury trial is
21   permitted.
22
23
     Dated: May 16, 2022                           By:
24                                                        Bryan W. Pease, Esq.
25                                                        Attorney for Plaintiff
26
27
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                                    CLASS ACTION COMPLAINT
